 Timothy Twomey
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 Attorney for Plaintiff

                            IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF ALASKA


NICOLE HOUSE,                            )
                                         )
               Plaintiff,                )
                                         )
vs.                                      )   Case No. 3:19-cv-00314-HRH
                                         )
ALASKA NATIVE TRIBAL                     )
HEALTH CONSORTIUM,                       )
                                         )
               Defendant.                )
                                         )   (State Court No. 3AN-19-10270CI)

          PLAINTIFF’S VOLUNTARY DISMISSAL PRIOR TO ANSWER

      COMES NOW Plaintiff, NICOLE HOUSE, by and through counsel, and hereby

provides notice of her voluntary dismissal of the above-captioned lawsuit and all

claims against Defendant ALASKA NATIVE TRIBAL HEALTH CONSORTIUM.

      This action is made pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

providing that a dismissal may be made without order of the court by filing a notice

prior to the opposing party’s answer.




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     Respectfully submitted on this the 18th day of December 2019.

                                               CROWSON LAW GROUP
                                               Attorneys for Plaintiff

                                          By: s/Timothy Twomey
                                             TIMOTHY TWOMEY
                                             ABA #0505033
                                             tim@crowsonlaw.com




CERTIFICATE OF SERVICE
I hereby certify that a true and correct copy of the foregoing was filed electronically with the United
States District Court for the District of Alaska using the CM/ECF system, and that the following
participants in this case who are registered users will be served by the CM.ECF system:

Marie C. Scheperle
Federal Building & U.S. Courthouse
222 West 7th Ave #9, Room 253
Anchorage, AK 99513-7567
Marie.Scheperle@usdoj.gov


 s/Aaron Burkhart_________
Aaron Burkhart
Crowson Law Group




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